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FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. Criminal Case: 20cr210 (CKK) F 1 L E Dp

ELLIOTT BROIDY OCT 2 0 2020

STATEMENT OF OFFENSE Clerk, U.S. District and

1. From no later than March 2017 to at least in or about January 2018, EBBRETHRICY Courts
BROIDY agreed with Nickie Lum Davis and Person A to act as agents of Foreign National A, a
wealthy businessperson living in East Asia, in exchange for millions of dollars which was not
disclosed. BROIDY specifically agreed to lobby the Administration of the President of the United
States, and the United States Department of Justice (“DOJ”) to drop or otherwise favorably resolve
its matters against Foreign National A for his role in the embezzlement of billions of dollars from
[Malaysia Development Berhad ("1MDB”), a strategic investment and development company
wholly owned by the Government of Malaysia. Ultimately, BROIDY, Davis, and Person A were
unsuccessful in their efforts to have the 1 MDB matters dropped or otherwise favorably resolved
for Foreign National A.

2. During the same approximate period, BROIDY, Davis, and Person A also agreed
to lobby the Administration and the DOJ to arrange for the removal and return of People’s Republic
of China (“PRC”) National A—a citizen of the PRC living in the United States—on behalf of
Foreign National A. This involved, among other things, advocating for meetings between PRC
Minister A and United States government officials. Here too, BROIDY, Davis, and Person A were
ultumately unsuccessful.

3. Despite their knowledge of the requirement to register as agents of a foreign
principal, at no time did BROIDY, Davis, or Person A register under the Foreign Agents

Registration Act (“FARA”) regarding their work as agents of Foreign National A,
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L Campaign to Resolve IMDB Civil Forfeiture Cases
A. BROIDY Agrees to Lobby for Foreign National A for $8 Million Retainer

4, In or about March 2017, Person A contacted Davis in an effort to locate someone
with close ties to the Administration to help a foreign client. Davis in turn told BROIDY that she
had a possible client in Malaysia who needed help with a forfeiture matter,

5. On or about March 3, 2017, Davis asked BROIDY’s assistant for photographs of
BROIDY and the President, and on or about March 7, 2017, BROIDY’s assistant sent photographs
to Davis.

6. On or about March 9, 2017, Person A instructed Davis to share with BROIDY
parameters for a potential contract relating to Foreign National A and IMDB, whereby BROIDY,
Davis, and Person A agreed to propose that BROIDY would lobby the Administration and DOJ
on behalf of Foreign National A for a favorable result in the IMDB civil forfeiture matters in
exchange for an $8 million retainer fee upfront, and an additional $75 million success fee if the
“matter” was resolved within 180 days, or $50 million if the “matter” was resolved within 365
days. BROIDY, Davis, and Person A agreed that the payments to BROIDY would be directed to
Law Firm A, a law firm controlled by BROIDY and Person C. Ultimately, however, BROIDY,
Davis, Person A, Law Firm A, and Person C provided no litigation services or legal advice to
Foreign National A.

B. BROIDY, Person A, and Davis Meet Foreign National A in Bangkok

7. In or about April 2017, Davis relayed Person A’s request for BROIDY to travel to

Bangkok, Thailand to meet with Foreign National A, which BROIDY told Davis to tell Person A

that he agreed to do if he were paid $1 million. BROIDY specified that he wanted to be paid by

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Person A from “untainted” funds. BROIDY was assured that Person A would personally pay $1
million in exchange for BROIDY traveling to Bangkok.

8. On or about May 2, 2017, BROIDY, Davis, and Person A arrived in Bangkok to
meet with Foreign National A. During the trip, BROIDY and Foreign National A spoke about the
IMDB matters, and BROIDY agreed to lobby the Administration and DOJ for a favorable result
for Foreign National A. Foreign National A agreed to pay BROIDY an $8 million retainer.
BROIDY stated that the money should not come from Foreign National A and should be “clean.”
Foreign National A identified a friend who could pay BROIDY. BROIDY, Person A, and Davis
agreed that the money would first be routed through Person A and then be paid to BROIDY
through Law Firm A. BROIDY and Davis agreed that BROIDY would pay Davis a percentage of
what BROIDY received. Person A told BROIDY and Davis that Person A’s friend, Higginbotham,
a DOJ attorney, was verifying the legitimacy of the funds. BROIDY never met or spoke with
Higginbotham.

9. During the meeting or shortly thereafter, Davis and BROIDY discussed the
possibility of assisting in getting PRC National A removed from the United States.

Cc. BROIDY is Paid $6 Million; Davis is Paid $1.7 Million

10. Following the meeting with Foreign National A in Thailand, on or about May 8,
2017, Person A obtained a cashier’s check from a bank account for Company A, a company created
by Person A, for $702,000 payable to Law Firm A, which was immediately credited to Law Firm
A’s account. Person A made a separate wire transfer of $48,000 to Law Firm A from the Company
A account. That same day, a third-party company transferred $250,000 to the Law Firm A account
at Person A’s direction, bringing the total amount deposited into the Law Firm A account to $1

million. Within several days, approximately $900,000 of the $1 million transferred into the Law
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Firm A account was transferred from the Law Firm A account to one of BROIDY’s business
accounts.

ll. On or about May 17, 2017, Person A transferred $3 million from Company A to
Law Firm A. BROIDY understood that the source of the funds was a friend of Foreign National
A from outside the United States. On or about May 18, 2017, Law Firm A transferred $600,000
to one of BROIDY’s business accounts and $900,000 to a business account controlled by Davis.
On or about May 18, 2017, Law Firm A transferred $500,000 to one of BROIDY’s business
accounts. Within approximately one week, Law Firm A transferred an additional $950,000 in two
separate transfers to one of BROIDY’s business accounts.

12. On or about May 26, 2017, Person A transferred $2 million from Company A to
Law Firm A. BROIDY understood that the source of the funds was a friend of Foreign National
A from outside the United States. That same day, $600,000 was transferred from Law Firm A’s
account to a business account controlled by Davis. On or about May 26, 2017, Law Firm A
transferred $1 million to an account controlled by Person C. In or about early June 2017, Law
Firm A transferred $650,000 to one of BROIDY’s business accounts.

D. BROIDY Facilitates and Attempts to Facilitate Meetings for Malaysian Prime
Minister A and Efforts to Resolve the 1MDB Cases .

13. | Between June and September 2017, BROIDY contacted high-level officials in the
Administration, including the President, to attempt to arrange a golf game between Malaysian
Prime Minister A and the President. The idea originated from a suggestion by an employee of
BROIDY in or around May 2017 as a way to help generate business opportunities for his company,
but BROIDY and Davis believed that this would please Foreign National A and would allow

Malaysian Prime Minister A to attempt to resolve the IMDB matter. BROIDY also hoped to
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secure additional business with the government of Malaysian Prime Minister A and hoped that
arranging golf with the President would further his business interests.

14. As part of his efforts, BROIDY asked the President in or around June 2017 if he
would be willing to play golf with Malaysian Prime Minister A. Additionally, BROIDY sought
assistance from Person D, a former campaign aide for the President and political consultant
retained by BROIDY, to arrange the golf game through high-level officials within the White
House.

15. In or about June and July 2017, BROIDY contacted Person E, a high-level official
in the White House, on numerous occasions to arrange for the golf game between Malaysian Prime
Minister A and the President.

16. On or about July 27, 2017, BROIDY emailed a high-level official from the National
Security Council to arrange a golf game between Malaysian Prime Minister A and the President.

17. On or about August 7, 2017, BROIDY sent his assistant an email with the subject,
“Malaysia Talking Points *Final*”, which contained the purported talking points of Malaysian
Prime Minister A intended for an upcoming meeting between the United States Secretary of State
and Malaysian Prime Minister A. Davis relayed them to BROIDY. The talking points mentioned,
among other things, BROIDY’s ongoing relationship and work with Malaysia, and identified
IMDB as a “[p]riority[.]” The talking points noted the lack of harm caused by IMDB, and
specified that “[t]he involvement of US prosecutors has caused unnecessary tension American
[sic], and could cause a negative reaction among Malaysians”.

18, On or about August 7, 2017, BROIDY sent these talking points to Person D,
immediately followed by a message explaining, “Above is attachment from Malaysian PM of his

talking points. You can share with [staff assistant who works for the Secretary of State].”
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BROIDY also asked Person D to see if he could talk to someone to see if the Secretary of State
would “plug in [his] name” during the meeting with Malaysian Prime Minister A to help boost
BROIDY’s business prospects with Malaysia.

19. On or about August 9, 2017, Person A transferred $3 million to Law Firm A.
BROIDY understood that the source of the funds was a friend of Foreign National A from outside
the United States. This was the final payment made to BROIDY. In total, BROIDY was paid $9
million. On or about the next day, Law Firm A transferred $900,000 to a business account
associated with Davis. In the ensuing days, Law Firm A transferred hundreds of thousands of
dollars to accounts belonging to BROIDY.

20. On or about August 10, 2017, BROIDY texted Person D regarding the meeting
between Malaysian Prime Minister A and the Secretary of State: “Ifeard from Malaysia that
meetings went very well. They were happy with (Secretary of State]. My name was not mentioned
—no plug. ;-....”

21. On or about August 31, 2017, BROIDY sent an email to Person I, a high-level
official in the White House, to arrange a golf game between Malaysian Prime Minister A and the
President. BROIDY sent several follow-up requests in or about September 2017.

22. Throughout this time period, BROIDY regularly communicated with Davis
regarding his progress in arranging the golf game between Malaysian Prime Minister A and the
President. Additionally, BROIDY assumed that Foreign National A and Person A regularly asked
Davis to seek updates from BROIDY regarding his progress, which BROIDY provided to Davis.

At times, Davis communicated to BROIDY that Foreign National A and Person A were upset

about the lack of progress.
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23, On or about September 11, 2017, Davis typed a letter to be sent from BROIDY to
the President in anticipation of Malaysian Prime Minister A’s meeting with the President and
provided the letter to BROIDY. The letter included several positive developments in the
relationship between Malaysia and the United States. The letter was never provided to the
President.

24, Following BROIDY’s repeated efforts to schedule a golf game between the
President and Malaysian Prime Minister A, Malaysian Prime Minister A met with the President at
the White House on or about September 12, 2017. No golf game between Malaysian Prime
Minister A and the President took place.

25, On or about October 6, 2017, BROIDY met with the President at the White House.
BROIDY did not raise the 1 MDB matters during the meeting, but represented to Davis and others
that he had, understanding that Davis would communicate that information to Person A and
Foreign National A.

26.  Onor about January 5, 2018, BROIDY drafted talking points related to IMDB to
demonstrate to Foreign National A the efforts that BROIDY had undertaken on his behalf. Among
other things, the talking points provided: “1. We are working with the DoJ to counter the previous
Administration’s case against 1MDB in Malaysia. I have put a strategy in place to contact parties
both at DoJ and the NSC to find a resolution to this issue. 2. ] am in the process of scheduling a
meeting with the assistant attorney general [] who has the oversight for the Malaysia case. She is
a [presidential] appointec and can be helpful. . . . 3. As I informed you earlier, in my discussion
with the President, he committed to getting this issue resolved. It is important that I take his lead

but will continue to communicate the importance of this issue.” These representations were false.
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IL. Campaign to Remove PRC National A from the United States
A. BROIDY Travels to the PRC to Meet with PRC Minister A

27. In or about May 2017, following the trip to Bangkok, BROIDY agreed to travel to
Hong Kong to meet again with Foreign National A. Also at the mcecting was a foreign government
official of the PRC. They discussed the removal of PRC National A from the United States and
return to the PRC, as well as the potential return of several Americans to America then being held
prisoner by the PRC.

28. On or about May 18, 2017, BROIDY, Davis, and Person A traveled to the PRC,
where they met with Foreign National A and PRC Minister A. PRC Minister A asked BROIDY
to use his influence with high-ranking United States government officials to advocate for PRC
National A’s removal and return to the PRC. PRC Minister A also stated that he would be visiting
Washington, D.C. soon and was having trouble scheduling meetings with certain high-ranking
United States government officials.

B. BROIDY Lobbies Top U.S. Officials for the Removal of PRC National A

29, In or about May 2017, BROIDY sought assistance from Person D to transmit a
memorandum to the Attorney General seeking the removal of PRC National A and to arrange a
meeting between the Attorney General and PRC Minister A.

30. On or about May 22, 2017, BROIDY sent an email to Person D with the subject,
“Opportunity for Significantly Increased Law Enforcement Cooperation between US and
China[.]” BROIDY attached to the email a memorandum from BROIDY addressed to the
Attorney General, intending that Person D would then provide the memorandum to the Attorney
General. The content of the memorandum had been provided to BROIDY by Davis. Upon receipt,

BROIDY and Person C revised the memorandum,
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31. In the memorandum, BROIDY mischaracterized the reason for his trip to the PRC
and the circumstances leading to his meeting with PRC Minister A. BROIDY did not disclose his
contact with Foreign National A and did not disclose Foreign National A’s role in setting up the
meeting between BROIDY and PRC Minister A. BROIDY also did not disclose the financial
arrangement with Foreign National A. BROIDY also did not disclose that his lobbying efforts
with respect to PRC National A were, at least in part, pursuant to his financial arrangement with
Foreign National A and could potentially result in additional payment.

32. In the memorandum, BROIDY stated, “I was told by [PRC Minister A] that China
would like to significantly increase bi-lateral cooperation with the US with respect to law
enforcement including cyber security.” BROIDY wrote about PRC Minister A’s upcoming trip to
Washington, D.C., in which PRC Minister A and his delegation planned to meet with several high-
ranking United States government officials. BROIDY indicated that it would be productive for
the Attorney General to meet with PRC Minister A. BROIDY also noted several items that the
PRC, according to PRC Minister A, would be willing to do to improve law enforcement relations
between the United States and the PRC. BROIDY then added:

According to my conversation with [PRC Minister A], the one request China will

make is that [PRC National A], who China alleges has conspired with others who

have been arrested and charged with violations of numerous criminal laws of China

(including kidnapping and significant financial crimes be deported (his Visa ends

within the next month or so) or extradited (Interpol has issued a Red Notice with

respect to him which is attached for your reference) as soon as possible from the

US to China so he can be charged with these violations and go through regular

criminal proceedings in China with regard to these allegations.

BROIDY appended an Interpol Red Notice for PRC National A to the memorandum.
33, In the ensuing days, BROIDY sought Person D’s assistance in arranging a meeting

between PRC Minister A and the Attorney General and a meeting between PRC Minister A and a

high-level official at the Department of Homeland Security (“DHS”) to allow PRC Minister A the
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opportunity to advocate for the removal of PRC National A and offer the return of Americans
imprisoned in the PRC. Despite BROIDY’s efforts, no such meetings took place.

34. During this time period, BROIDY regularly updated Davis regarding his progress
in arranging the meetings. On or about May 30, 2017, BROIDY met with PRC Minister A at a
hotel in Washington, D.C. at Davis’s request to discuss BROIDY’s efforts to arrange the meetings
with DOJ and DHS for PRC Minister A.

35. Between in or about June 2017 and in or about October 2017, BROIDY sought the
assistance of Person H, an internationally successful businessman and frequent contributor to
political campaigns with close access to the President, to lobby the Administration for the removal
of PRC National A.

a. Onor about June 27, 2017, BROIDY informed Person H of his desire that PRC
National A’s visa application be denied, that PRC National A be put on the
DHS “no fly list,” and “this order would need to come from the very top.”
BROIDY also sent Person H information about PRC National A, including the
Interpol Red Notice for PRC National A’s arrest.

b. On or about July 18, 2017, at Davis’s request, BROIDY emailed Davis the
contact information for Person H to facilitate contact between PRC Minister A
and Person H. Davis connected multiple calls between PRC Minister A and
Person H in furtherance of the lobbying campaign to remove PRC National A.

c. Onorabout August 19, 2017, BROIDY met with Person H on Person H’s yacht.
During their time together, BROIDY asked Person H about the matter involving
PRC National A. Person H, in BROIDY’s presence, then called the President,

asking about PRC National A’s status within the United States.

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36. In or about June 2017 and July 2017, BROIDY contacted Person E regarding PRC
National A’s visa status. BROIDY did not disclose the true nature of his relationship with PRC
Minister A to Person E.

37. Once again, BROIDY communicated regularly with Davis regarding his progress
in seeking the removal of PRC National A from the United States, and Davis informed BROIDY
that she regularly communicated concerns about the progress from Person A and Foreign Nalional

A.

 
    

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Dated: September 30, 2020

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